CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 1 of 9




                    (;+,%,723

                )LOHG8QGHU6HDO
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 2 of 9
                             HIGHLY CONFIDENTIAL


                                                                       Page 1

1                   UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
2                          EASTERN DIVISION
3
4    IN RE:     PORK ANTITRUST LITIGATION
5
                                Civil Action No. 18-1776(JRT/HB)
6
7
     This Document Relates to:
8
     All Actions
 9
10
11
        ***********************************************
12
13              VIDEOTAPED TELECONFERENCE DEPOSITION
                        OF RODNEY BRENNEMAN
14
15      ************************************************
16
17                       APPEARANCES NOTED WITHIN
18
19                 DATE: THURSDAY, AUGUST 4, 2022
                          PLACE: VIA ZOOM
20            WITNESS LOCATED IN KANSAS CITY, MISSOURI
                         TIME: 9:02 a.m.
21
22
23
                            BETHANY CAMMACK
24                    Certified Shorthand Reporter
                        Mississippi CSR No. 1526
25

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 3 of 9
                             HIGHLY CONFIDENTIAL


                                                                     Page 343

1                         MR. SWARTZBERG:           Objection, form.
2                         THE WITNESS:         We helped them with the
3    design so that it could produce -- again, similar
4    type scenario at Guymon, where it could produce the
5    types of products that would maximize our
6    opportunities in the export markets, and
7    predominantly, the premium export markets.
8    MR. SWARTZBERG CONTINUED:
9          Q.     Is it fair to say that both the Seaboard
10   plant in Guymon, Oklahoma, and the Triumph plant in
11   St. Joseph, Missouri were built or designed with
12   export sales in mind?
13                        MR. SWARTZBERG:           Objection.        Form,
14   foundation.
15                        THE WITNESS:         Yes.
16   MR. SCHWINGLER CONTINUED:
17         Q.     Let's talk about Seaboard's export
18   program.       You became CEO of Seaboard Foods in 2001.
19   Is that right?
20         A.     That's correct.
21         Q.     And you remained CEO until two thousand --
22   at some point in 2011?
23         A.     Correct.
24         Q.     During that ten-year period, did Seaboard
25   try to grow its export sales?

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 4 of 9
                             HIGHLY CONFIDENTIAL


                                                                     Page 344

1          A.     Yes.
2          Q.     I'd like to break that period up into a
3    few different smaller segments.                    Let's talk about
4    2001 to 2007.          Did Seaboard try to grow its export
5    sales during that time period?
6          A.     Yes.
7          Q.     How about 2008?
8          A.     Yes.
9          Q.     How about 2009, '10, and '11?
10         A.     Yes.
11         Q.     So for each year that you were the CEO of
12   the company, was one of Seaboard's goals to grow
13   its export sales?
14         A.     Yes.
15         Q.     Why?
16                        MR. SCHWINGLER:            Objection.         Form,
17   foundation.
18                        THE WITNESS:          Because it was more
19   profitable if we could target some of the premium
20   export markets.
21                        COURT REPORTER:            Mr. Schwingler, I
22   need to stop for a second.                 I need to plug in.
23   Okay?      Can we go off the record just --
24                        MR. SCHWINGLER:            Let's go off the
25   record.

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 5 of 9
                             HIGHLY CONFIDENTIAL


                                                                     Page 345

1                         THE VIDEOGRAPHER:             Please stand by.
2    The time is 6:25 p.m., and we're going off the
3    record.
4                              (OFF THE RECORD.)
5                         THE VIDEOGRAPHER:             The time is 6:27
6    p.m., and we're back on the record.
7    MR. SCHWINGLER CONTINUED:
8          Q.     Mr. Brenneman, before we took a break, we
9    were discussing Seaboard's export strategy during
10   your time as CEO from 2001 to 2011.                      Do you recall
11   that?
12         A.     Yes.
13         Q.     I just want the record to be clear.                       I'm
14   going to read you an allegation from one of the
15   class complaints in this action about what's
16   alleged.
17                And the allegation in Paragraph 2 of the
18   Commercial Indirect Purchasers Fourth Amended
19   Complaint alleges the Defendants -- and then
20   quote -- "entered into a conspiracy from at least
21   2009 to the present to fix, raise, maintain, and
22   stabilize the price of pork."
23                Did Seaboard's export strategy change in
24   2009 from what it had been prior to that?
25                        MR. SWARTZBERG:            Objection.         Form,

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 6 of 9
                             HIGHLY CONFIDENTIAL


                                                                     Page 359

1    operation?
2                         MR. SWARTZBERG:           Objection.        Form,
3    foundation.
4                         THE WITNESS:         I don't recall exactly,
5    but I think we visited and decided we didn't -- we
6    weren't interested in it.               It wasn't a type of
7    facility we wanted.
8    MR. SCHWINGLER CONTINUED:
9          Q.     You were asked about sow liquidations in
10   Dalhart.       You weren't asked about what happened to
11   the Texasoma facility.              Was that facility closed?
12         A.     No.
13         Q.     What happened?
14                        MR. SWARTZBERG:           Objection.        Form,
15   foundation.
16                        THE WITNESS:         It was sold to Prestage
17   Farms, I believe.
18   MR. SCHWINGLER CONTINUED:
19         Q.     Did Prestage continue to sell hogs to
20   Seaboard from that location?
21         A.     Yes.
22         Q.     During your time as CEO of Seaboard Foods,
23   did -- to your knowledge, did the company ever
24   agree with any competitor about how many sows it
25   would have on its sow farms?

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 7 of 9
                             HIGHLY CONFIDENTIAL


                                                                     Page 360

1                         MR. SWARTZBERG:            Objection.       Form,
2    foundation.
3                         THE WITNESS:         No.
4    MR. SCHWINGLER CONTINUED:
5          Q.     Did you personally ever make any
6    commitments to any competitor about how many sows
7    Seaboard would have on its sow farms?
8                         MR. SWARTZBERG:            Objection, form.
9                         THE WITNESS:         No.
10   MR. SCHWINGLER CONTINUED:
11         Q.     During your time as CEO of Seaboard, did
12   the company ever liquidate a sow production
13   facility?
14                        MR. SWARTZBERG:            Objection, form.
15                        THE WITNESS:         No.
16   MR. SCHWINGLER CONTINUED:
17         Q.     During your time as CEO, did the company
18   ever reduce its sow herd for the purpose of
19   reducing its hog production?
20                        MR. SWARTZBERG:            Objection, form.
21                        THE WITNESS:         No.
22   MR. SCHWINGLER CONTINUED:
23         Q.     During your ten years as CEO, including
24   the period of 2009 to 2011, did the company ever
25   intentionally reduce its hog production through any

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 8 of 9
                             HIGHLY CONFIDENTIAL


                                                                     Page 361

1    vehicle?
2                         MR. SWARTZBERG:            Objection, form.
3                         THE WITNESS:         No.
4    MR. SCHWINGLER CONTINUED:
5          Q.     Now, does that mean that the company's hog
6    production numbers were always identical from day
7    to day or week to week?
8          A.     No, it does not mean that.
9          Q.     Can you explain why hog production numbers
10   don't stay constant?
11                        MR. SWARTZBERG:            Objection, form.
12                        THE WITNESS:         There are a number of
13   reasons.       Seasonality.         They're biological
14   creatures.        Diseases.       Weather.        There could be a
15   whole number of reasons that biological entities,
16   animals, produce differently and/or grow
17   differently.         But those would be some of the key
18   ones.
19   MR. SCHWINGLER CONTINUED:
20         Q.     Was Seaboard able to say we want to
21   produce exactly X hogs and then hit that target
22   every time?
23                        MR. SWARTZBERG:            Objection, form.
24                        THE WITNESS:         No.
25   MR. SCHWINGLER CONTINUED:

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-23 Filed 08/24/22 Page 9 of 9
                             HIGHLY CONFIDENTIAL


                                                                     Page 362

1          Q.     Why not?
2                         MR. SWARTZBERG:           Objection to form.
3                         THE WITNESS:         For those same types of
4    reasons.       And they're biological entities that you
5    can't -- it's not like making widgets.
6                         COURT REPORTER:           Not like -- I'm
7    sorry?
8                         THE WITNESS:         I'm sorry.        Not like
9    making widgets.
10   MR. SCHWINGLER CONTINUED:
11         Q.     Why didn't Seaboard just err on the side
12   of producing too many hogs, more hogs than it could
13   slaughter at its plant?
14                        MR. SWARTZBERG:           Objection, form.
15                        THE WITNESS:         Because our strategy
16   wasn't to overproduce and sell to other processors.
17   Our strategy was to produce and process our own.
18   And then what we needed additional, we would have
19   procured from third party producers.
20   MR. SCHWINGLER CONTINUED:
21         Q.     I'd like to have you take a look at an
22   exhibit.       I believe it's Tab 9S.
23                        MR. SCHWINGLER:           If the videographer
24   could pull that up.            This is the amended complaint
25   filed by Buffalo Wild Wings in this action.                            And

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
